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                                     James W.   Fondren,   Jr.
                                      4136 Whispering Lane
                                     Annandale,    VA 22003
                                     27 May 2014                 20IU HAY 21 A 10= 1*5
 The Honorable                                                CLERK US OiSitfiCT CCI-T
 District Judge Claude M. Hilton                               ALEXANDRIA. VIRGINIA*
 401 Courthouse Square
 Alexandria, VA 22314

 Re:    l:09-cr-00263


 Dear Judge Hilton:

       It has been 20 months since I filed my Memorandum of Law and
 Certificate of Petitioner pursuant to 28 U.S.C. § 2255. Article
 I, Section 9, Constitution of the U.S. states, "The Privilege of
 the Writ of Habeas Corpus shall not be suspended..." The Court' s
 de facto suspension of my writ of habeas corpus proves the axiom,
 "Justice delayed is justice denied."

       I don't mean to be offensive, but my espionage conviction is
 a monumental example of government overreach.  Where is the
 outrage when the government abuses its grand jury authority?

 •     How can the government indict a person for communicating
       classified information when it was labeled "for public release
       and not know that it was "mostly public" information?"
 •     How can the government indict a person and ignore Bush
       Executive Order 13292 classification requirements required by
       the Classified Information Procedures Act?
 •     Where is the outrage when there has been no disclosure of
       classified documents or closely held government information in
       my opinion papers pursuant to every legal precedent?
 •     Where is the outrage when the government acted in bad faith by
       not honoring the classification decisions of the original
       classifier, and ignores Defense Department public policy
       prohibiting classified military activities with China?

          "No Bill of Attainder or ex post facto law shall be passed,"
 according to Article I, Section 9, of the Constitution of the
 United States. Michael Rogers was not the original classifying
 official by his own admission. JA356 (24-25) to JA357 (1-3)
 Rogers' authority is restricted to derivative classification by
 Bush Executive Order, not "original classification authority."

 •     The Court stated during Rogers * testimony, "Did he just
       classify defendant's opinion papers...You can show that those
       papers do not contain classified information." JA362. My
       attorneys did not defend my opinion paper when the opportunity
       was presented by the Court.   The Court's statement from the
       bench had a substantial, pejorative impact upon the jury
       resulting in a unanimous guilty verdict on Count Five.

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 •   How could Rogers' classification of public information have
     met statutory language? The statute requires that one must
     know that the information was "of a kind classified by the
     President." My information was publicly released by proper
     authority and EO 13292 prohibits Rogers from deriving a
     different classification from the original classifier.

      One trial with two standards is patently unfair. There was
 an unequal application of the law during the trial by two
 intelligence officers resulting in substantial harm to petitioner
 and a violation of due process under the 5th Amendment.

 •   During his Count 4 testimony, William Huntington, Deputy
     Director for Human Intelligence, Defense Intelligence Agency,
     testified that that every portion of a classified document
     must individually be marked with classification markings "all
     the time." JA340 (2-5) Huntington described in exacting
     detail that his classification determination was based on
     "Bush Executive Order 13292 and classification guides," and
     "derivative classification authority." JA330(23-24) JA337(6-7)

 •   Huntington concluded that the information in my opinion paper
     was not classified. JA341 (6-24) Below are the Principles and
     Application of Derivative Classification recorded during
     Huntington's testimony.

                  ♦Principle of     Derivative Classification*

       Huntington stated that derivative classification cannot
       be applied to information found in two different documents
       outside   the   context of    the original   classified document,
       ergo "mostly public" information. JA340 (16-24)

                 ♦Application   of Derivative Classification*

       Huntington   testified  that   only   communication  of   an
       originally classified document, not portions thereof, is
       automatically classified.  Mote: Similarity of ideas cannot
       be derivative classification outside the specific context of
       the classified document and may be unclassified information.

 •   Huntington complied with classification rules and guides
     authorized by the Bush Executive Order and Michael Rogers did
     not follow rules and guidelines though both are senior
     intelligence officials.

 •   I was found innocent on Count Four when classification rules
     and guides were followed and guilty of Count Five when EO
     13292 and CIPA standards were not followed.

 •   My attorneys provided constitutionally ineffective assistance
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    of counsel for failure to raise these issues knowing that
    Michael Huntington applied the Bush Executive Order and
    Intelligence Guides for classification standards, not Rogers.
       My injuries are substantial and permanent.

       The Hiss Act provides for pension forfeiture for federal
 employees, "if the Attorney General of the United States
 certifies to the agency administering the annuity or retired pay
 concerned!,] that an individual subject to this chapter has been
 convicted by an impartial court and that such conviction was
 obtained in accordance with procedures that provided the
 defendant due process rights." See 5 U.S.C. [subsections] 8312-
 8322 (1994); 5 U.S.C. [section] 8311 (1994); 38 U.S.C. [section]
 6104 (1994). The Hiss Act applies to all current and former
 members of the armed services, and denies retirement benefits to
 federal employees—both civilian and military. The 1961 amendment
 limits the application of the forfeiture provisions to specified
 violations of the United States Code and the Uniform Code of
 Military Justice relating to national security, such as treason,
 espionage, or disclosure of classified information.

 >     I ask the Court's indulgence, but what person knowing that
 he had communicated classified information would turn down a plea
 bargain from the government and elect to go to trial as I did?
 Wouldn't the preferred choice be to take the offer and run? I
 stood my ground that I was actually innocent of      knowingly
 communicating classified information and false statements.

       So what is preventing the Court from arriving at a
 determination on my habeas petition?     The Court should know by
 now 1) that I never communicated information from a classified
 government document; and, 2) that same information does not meet
 the definitions requirements of the Classified Information
 Procedures Act.


      It is not my intent to offend the Court, but to reiterate
 that I am actually innocent and waiting upon the Court's review.

       Request that you vacate the judgments against me in
 accordance with the Memorandum of Law and Certification of
 Petitioner pursuant to 28 U.S.C.

       In the alternative, grant me a Certificate of Appealability
 for review by the Fourth Circuit Court of Appeals.
 Very respectfully submitted,




 James Wilbur Fondren,
